Case 1:08-cr-00322-WMS Document 27 Filed 02/28/11 Page 1 of 3

AO 245B (Rev. 12/63) Judgment in a Criminal Case #14339 MJQ/jes
Sheet 1

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UNITED STATES DISTRICT COURT

WESTERN District of NEW YORK
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
Case Number: 1:08CR00322-001
JOSEPH ANDERSON USM Number: 17326-055
Terrence M. Connors
Defendant’s Attorney ot AT ES Dy STR;
THE DEFENDANT: KO FLED 7S
[x] pleaded guilty to count(s) —_I of Information = i “op NS
to 4 FER YR ont 7
[J pleaded nolo contendere to count(s) \ \ fp. 2B 0H imi
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which was accepted by the court. ee 4 Be ROR MES, of J
[J was found guilty on count(s) SQTEg ro

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after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. §1341, §1436, Aiding and Abetting a Public Official in a Scheme to Deprive 11/12/03 I
and §2 the City of Niagara Falls and its Citizens of Their Right to

Honest Services of a Public Official

The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

[J The defendant has been found not guilty on count(s)

C1] Count(s) [] is [) are dismissed on the motion of the United States.

__,_ It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

LL

Sigwature of Judge

William M. Skretny, Chief U.S. District Judge
Name and Title of Judge

LLZx/ jf!

Date

Case 1:08-cr-00322-WMS Document 27 Filed 02/28/11 Page 2 of 3

AO 245B (Rev. 12/03) Judgment in a Criminal Case #14339 MJQ/jes
Sheet 5 — Criminal Monetary Penalties
? oc Judgment — Page 2 of 3
DEFENDANT: JOSEPH ANDERSON
CASE NUMBER: 1:08CR00322-001
CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
Assessment Fine Restitution
TOTALS $ 100 $ 50,000 $ 0
C] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

0

after such determination.
The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned ayment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18°U.S.C. § 3664 1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

TOTALS $ $

[] Restitution amount ordered pursuant to plea agreement $

[] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[x] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

the interest requirement is waived for the [J fine [ restitution.

(the interest requirement forthe [ fine [[] restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

Case 1:08-cr-00322-WMS Document 27 Filed 02/28/11 Page 3 of 3

AG 245B (Rev. 12/03) Judgment in a Criminal Case #14339 MJQ/jes
Sheet 6 — Schedule of Payments

Judgment — Page 3 of 3

DEFENDANT: JOSEPH ANDERSON
CASE NUMBER: 1:08CR00322-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A [])_ Lump sum payment of $ due immediately, balance due

CI not later than , or
[] inaccordance Oc, OD, [] E,or (CF below; or

BX] Payment to begin immediately (may be combined with []C, CID, or = XJ F below); or

C (J Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D (1 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E- ( Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F  &]_ Special instructions regarding the payment of criminal monetary penalties:

A fine in the amount of $50,000 is due immediately. Payment shall be made to the Clerk, U.S. District Court (WD/NY), 68 Court
Street, Room 304, Buffalo, New York 14202.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due durin
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(1  Joint.and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

(= The defendant shall pay the cost of prosecution.
(]_ The defendant shall pay the following court cost(s):

(_ The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena

ties, and (8) costs, including cost of prosecution and court costs.

